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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

                                                    )
 In re
                                                    )
                                                    )
             JOHN CLAINE AND
                                                    )       Chapter 13
             KIMBERLY CLAINE,
                                                    )       Case No. 23-30472-EDK
                             Debtors.
                                                    )



                         CHAPTER 13 TRUSTEE’S OBJECTION TO
                         DEBTORS’ AMENDED CHAPTER 13 PLAN

         NOW COMES David A. Mawhinney, the Standing Chapter 13 Trustee (the “Trustee”),

and hereby objects to the Debtors’ Amended Chapter 13 Plan (the “Plan”). In support hereof, the

Trustee submits the following:

         1. On or about November 13, 2023, the Debtors filed for relief under Chapter 13 of the

United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq. as amended by the Bankruptcy Abuse

Prevention and Consumer Protection Act of 2005 (the “Act”).

         2. On December 14, 2023, the Trustee convened and presided at a § 341 meeting of

creditors (the “Meeting”). The Debtors appeared at that time and gave testimony under oath

concerning their Schedules and Statement of Financial Affairs.

         3. On or about February 20, 2024, the Debtors filed the Plan.

         4. Pursuant to Schedules “I” and “J”, the Debtors’ excess income is $1,975.93 per

month. The Debtors are below the applicable median income.

         5. The Plan provides for payments of $2,136.00 for 60 months, of which 58 months

remain.1 The unsecured creditors, which total $83,075.19, will be paid from a “pot” totaling

         1
        The Plan fails to provide for the secured claim of U.S. Shed, LLC. The lease arrears are
$1,275.74.
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$900.04. The estimated dividend is 1.0834%.

       6. The Debtors are not providing for all their projected disposable income to be received

in the applicable commitment period2 as set forth in §1325(b)(1)(B). As the Debtors are below

the applicable median income, the projected disposable income is not determined by Form

122C. In order to determine if they are offering all their projected disposable income to the

Plan, a review must be made of Schedules “I” and “J”. In re Dew, 344 B.R. 655, 660-661

(Bankr. N.D. Ala. 2006). See also, In re Kibbe, 361 B.R. 302, 306 n.3 (BAP 1st Cir.2007).

       7. Schedule “I” lists a payroll deduction of $650.00 for the repayment of a cash advance

from Mr. Claine’s employer. Based on paystubs produced by the Debtors, the cash advance has

been paid in full. Thus, the Debtors’ excess income is understated by $650.00 per month.

       8. If the Debtors were to produce all their disposable income to fund the Plan, they could

provide a payment of $2,581.00, shorten the term to 50 months, of which 48 months remain, with

a dividend 1.0834% to the unsecured creditors.3

       9. Given the above, confirmation of the Plan should be denied.



       WHEREFORE, the Trustee requests this Court:

       1.        Deny confirmation of the Debtors’ Amended Chapter 13 Plan;




       2
           11 U.S.C. §1325(b)(4).
       3
        The calculation does not provide for the claim of U.S. Sheds as the Debtors’ intention
regarding the claim is unclear.
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       2.      Grant such other and further relief as it deems just and necessary.

                                                     Respectfully submitted,
                                                     Standing Chapter 13 Trustee

Dated: March 19, 2024                                /s/Joanne Psilos
                                                     David A. Mawhinney, Trustee
                                                     BBO # 681737
                                                     Joanne Psilos, Staff Attorney
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                                                     P.O. Box 964
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the Chapter 13 Trustee’s Objection was sent to
the Debtor, Debtor’s counsel of record, and those parties who filed an appearance by first class
mail, postage prepaid.
                                                     Respectfully submitted,
                                                     Standing Chapter 13 Trustee

Dated:March 19, 2024                                 /s/Joanne Psilos
                                                     David A. Mawhinney, Trustee
                                                     BBO # 681737
                                                     Joanne Psilos, Staff Attorney
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